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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                  LUBBOCK DIVISION

FIRST BANK & TRUST,                           §
                                              §
               Plaintiff,                     §
v.                                            §
                                              §
REAGOR AUTO MALL, LTD. d/b/a                  §
REAGOR-DYKES OF LEVELLAND,                    §   CAUSE NO. 5:18-cv-00234-C
and d/b/a REAGOR-DYKES IMPORTS,               §
FIRSTCAPITAL BANK OF TEXAS,                   §
N.A., BART REAGOR, RICK DYKES,                §
SHANE SMITH, SHEILA MILLER,                   §
BRAD D. BURGESS, and KENNETH L.               §
BURGESS,                                      §
                                              §
               Defendants.                    §


APPENDIX IN SUPPORT OF DEFENDANT FIRSTCAPITAL BANK OF TEXAS, N.A.’S
    MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT
                       AND BRIEF IN SUPPORT

         Defendant FirstCapital Bank of Texas, N.A. submits this appendix in support of its

Motion to Dismiss Plaintiff’s Second Amended Complaint and brief in support:

                DESCRIPTION                                APPENDIX PAGE

        The Banking Law Journal                                   1 - 42

        Midwestern Cattle Marketing, LLC vs
                                                                 43 - 48
        Legend Bank, N.A.
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                                                   Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

        I hereby certify that on November 13, 2018, I electronically filed the foregoing document
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